          Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 1 of 10




COWAN, LIEBOWITZ & LATMAN, P.C.
114 West 47th Street
New York, NY 10036-1525
(212) 790-9200
Eric J. Shimanoff (ejs@cll.com)
Kieran G. Doyle (kgd@cll.com)
Joelle A. Milov (jam@cll.com)

Paul D. Polidoro (ppolidor@jw.org)
Watch Tower Bible and Tract Society of Pennsylvania
100 Watchtower Drive
Patterson, NY 12563
(845) 306-1000

Attorneys for Plaintiff Watch Tower
Bible and Tract Society of Pennsylvania


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 WATCH TOWER BIBLE AND TRACT SOCIETY
 OF PENNSYLVANIA,                                     Civil Action No. 7:21-cv-4155
                                Plaintiff,

                    -against-                         COMPLAINT
 JOHN DOE AKA “KEVIN MCFREE,”

                                Defendant.




31653/003/3836486
            Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 2 of 10




       Plaintiff Watch Tower Bible and Tract Society of Pennsylvania (“WT” or “Plaintiff”), by

and through its attorneys, Cowan, Liebowitz & Latman, P.C., for its Complaint against Defendant

John Doe aka “Kevin McFree” (“Doe” or “Defendant”) alleges as follows:


                                  NATURE OF THE ACTION

       1.       This is a civil action for copyright infringement in violation of the Copyright Act,

17 U.S.C. § 101 et seq. This litigation seeks relief against Defendant’s infringement of Plaintiff’s

registered copyrights in four original audiovisual works: “Never Alone,” “Allan Boyle: Deep

Study for a Clearer Picture,” “Keep a Tight Grip—Through Effective Personal Study,” and “Mark

Noumair: Keep ‘a Tight Grip on the Word of Life’.” Without authorization, Defendant obtained

purloined copies of Plaintiff’s then-unpublished works and copied significant portions of those

works as part of a video entitled “DUBTOWN – Family Worship July Broadcast” that Doe posted

publicly on YouTube. Defendant therefore has reproduced and publicly performed Plaintiff’s

works in the infringing video and deprived Plaintiff of its right of first publication. Such actions

infringe Plaintiff’s copyrights in the audiovisual works. Plaintiff, accordingly, seeks permanent

injunctive relief and damages for copyright infringement.

                                            PARTIES

       2.       Plaintiff WT is a Pennsylvania non-profit corporation with offices at 200 Watch

Tower Drive, Patterson, New York 12563 USA.

       3.       The true identity of Defendant Doe is not presently known to Plaintiff. Plaintiff

will amend its complaint upon discovery of the identity of such Defendant.

                                 JURISDICTION AND VENUE

       4.       This Court has original jurisdiction over claims arising under the Copyright Act

pursuant to 28 U.S.C. §§ 1331 and 1338.


                                                 1
31653/003/3836486
            Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 3 of 10




       5.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and (c).

       6.       This Court has personal jurisdiction over Defendant because, upon information and

belief, Defendant, in person or through an agent: (a) has committed tortious acts within New York

pursuant to NY CPLR 302(a)(2); and/or (b) has committed tortious acts without New York causing

injury to WT in New York, and (i) regularly does or solicits business, or engages in other

persistent courses of conduct, or derives substantial revenue from goods used or consumed or

services rendered, in New York, or (ii) expects or should reasonably expect his/her acts described

herein to have consequences in New York and derives substantial revenue from interstate or

international commerce, pursuant to NY CPLR 302(a)(3).

                                  FACTUAL BACKGROUND

       7.       WT is a non-profit corporation that is responsible for the creation, publication,

and protection of original works of authorship that support the work of Jehovah’s Witnesses.

       8.       WT, over decades, has created and published various original works of authorship,

including literary works, works of visual art, musical compositions, sound recordings, and motion

pictures, and has secured over 3,800 federal copyright registrations for its works.

       9.       Under the Copyright Act, WT has the exclusive rights, among other things, to

“reproduce the copyrighted work[s]” and “to perform the copyrighted work[s] publicly,” as well

as to authorize or license others to engage in such activities. 17 U.S.C. § 106.

       10.      Many of the original works created by WT are published, reproduced and

distributed pursuant to license by third party Watchtower Bible and Tract Society of New York

and other approved licensees, including via physical copies, mobile applications and the website

at www.jw.org (the “JW Website”).

       11.      Between August 2017 and January 2018, WT created the following four original



                                                  2
31653/003/3836486
          Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 4 of 10




audiovisual works, all of which are registered with the U.S. Copyright Office:

             Title                   Current Location on the JW Website      Copyright          Registra
                                                                             Registration No.   tion Date

             Never Alone             https://www.jw.org/en/library/music-    PA0002131662       8/3/2018
                                     songs/original-songs/never-
                                     alone/?content=video

             Allan Boyle: Deep       https://www.jw.org/en/library/videos/   PA0002131659       8/3/2018
             Study for a Clearer     #en/mediaitems/VODIntExpArchives/
             Picture                 pub-jwb_201807_4_VIDEO

             Keep a Tight Grip—      https://www.jw.org/en/library/videos/   PA0002131853       8/3/2018
             Through     Effective   #en/mediaitems/VODBiblePrinciples/
             Personal Study          pub-jwb_201807_6_VIDEO

             Mark Noumair: Keep      https://www.jw.org/en/library/videos/   PA0002131665       8/3/2018
             “a Tight Grip on the    #en/mediaitems/StudioTalks/pub-
             Word of Life”           jwb_201807_2_VIDEO




(the “Original WT Videos”). Attached hereto as Exhibits A are true and correct copies of the

Certificates of Registration of the Original WT Videos corresponding to Copyright Registration

Numbers PA0002131662, PA0002131659, PA0002131853, and PA0002131665.

       12.           The Original WT Videos also were published and registered with the Copyright

Office (PA0002132168) as a compilation with additional material (together with the Original WT

Videos, the “WT Videos”). Attached hereto as Exhibit B is a true and correct copy of the

Certificate of Registration for this compilation corresponding to Copyright Registration Number

PA0002132168.

       13.           Although the content of the WT Videos is based on the bible and the teachings of

Jehovah’s Witnesses, the videos are creative, expressive, and non-factual works. For example,

one of the WT Videos, “Never Alone,” is a music video with musical and actor performances,

costumes, sets, lighting, and sound design.

       14.           WT intended that it would, and in fact did, itself first publish the WT Videos via



                                                        3
31653/003/3836486
          Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 5 of 10




the JW Website in July 2018 as part of a monthly broadcast released to that site.

       15.      WT had taken precautions to protect the WT Videos from premature disclosure to

the public, including: (1) restricting access to and creating authorization levels within the software

used to produce the videos; (2) requiring production team members to sign confidentiality

agreements; and (3) limiting and vetting through WT’s computer department security team and

management on any non-WT storage or distribution system used in production.

       16.      Despite these measures, several months before WT was able to exercise its right of

first publication, and before “Never Alone” was finalized, unbeknownst to WT, Doe, without

WT’s authorization or consent, obtained copies of the WT Videos.

       17.      Upon information and belief, on or about May 18, 2018, Doe posted a video entitled

“DUBTOWN – Family Worship July Broadcast” (the “Doe Video”) on the video platform

YouTube, owned by Google, Inc. (“Google”). The Doe Video features significant portions of the

WT Videos that Doe obtained without WT’s authorization or consent.

       18.      Doe boasted on his YouTube page that he obtained the WT Videos “early,” in a

manner ostensibly meant to mock WT’s first publication right. The Doe Video further claims that

the WT Videos were “leaked” to him by a “good friend deep inside Bethel,” and that he gets “to

enjoy July’s broadcast” “before the rank and file get to see it.” Attached hereto as Exhibit C is a

true and correct copy of a screenshot from Doe’s YouTube page on which Doe boasts of his

wrongful conduct and evisceration of WT’s first publication right.

       19.      Doe’s use of the WT Videos does not qualify as a fair use. The Doe Video

reproduced significant portions—both quantitatively and qualitatively—of the WT Videos,

including approximately 90% of the visual aspects and more than 50% of the audio aspects of the

“Never Alone” music video, and the “heart” and significantly-creative aspects of the other videos.



                                                  4
31653/003/3836486
           Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 6 of 10




Content from the WT Videos comprised over half of the Doe Video.

       20.      Further, the portions of the JW Videos copied in the Doe Video generally are

unaccompanied by criticism or comment beyond the equivalent of “watch this.” For example,

Doe’s “comments” on the “Never Alone” music video amount mostly to: (1) ridiculing the

presence of a “green screen” in some of the segments, even though it was clear the video was not

complete before Doe unlawfully obtained a copy thereof; and (2) juxtaposing other sound

recordings (presumably without permission from those copyright owners) over certain

segments of the video.

       21.      Upon information and belief, Doe created and disseminated the Doe Video for

commercial purposes. On his YouTube page on which the Doe Video appeared, Doe solicited

financial contributions in connection with the Doe Video: “for those who have asked about

supporting my work, my paypal account is kevinmcfree@gmail.com.” See Ex. D.

       22.          In one of Doe’s videos posted several months after the Doe Video, he touts

the monetization of his other videos about Jehovah’s Witnesses through paid Google

advertisements, thanks those who have sent him “donations,” requests additional “donations,”

and promotes his new for profit t-shirt business that ties into his videos. A copy of this video

can be found at the URL https://www.youtube.com/watch?v=h7uM1tVAZYw. Attached

hereto as Exhibit E are true and correct copies of screenshots from Doe’s t-shirt business

website.

       23.      Doe apparently solicits “donations” for each video he posts on YouTube.

Attached hereto as Exhibit F are true and correct copies of representative screenshots from

Doe’s YouTube page on which he solicits donations for the videos he posts. Many of these

same videos are monetized through Google Ads.



                                                5
31653/003/3836486
          Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 7 of 10




       24.      Doe also promotes and provides direct links to a third-party for-profit design

service and t-shirt store in connection with several YouTube videos. See Ex. F and the

aforementioned video at https://www.youtube.com/watch?v=h7uM1tVAZYw.

       25.      Attached hereto as Exhibit G are true and correct copies of screenshots from

representative examples of Doe’s other videos that are monetized through Google Ads.

       26.      Shortly after WT first learned about the Doe Video, on or about June 6, 2018,

WT sent a copyright infringement take down notice to Google pursuant to the Digital

Millennium Copyright Act (“DMCA”), 17 U.S.C. § 512(c), demanding removal of the Doe

Video from YouTube. In response to WT’s take down notice and in accord with the procedures

set forth in the DMCA, YouTube removed the Doe Video from its platform.

       27.      Upon WT’s application, on June 20, 2018, the Clerk of the Court issued to Google

a subpoena in a miscellaneous action seeking the name, address, telephone number, email address

and IP (internet protocol) address associated with the Doe Video (the “Subpoena”). Attached

hereto as Exhibit H is a true and correct copy of the Subpoena.

       28.      Doe, without identifying himself, filed a motion to quash the Subpoena, which

motion currently is pending before this Court. See Case No. 7:18-mc-00268, Dkt. #17.

       29.      In his moving papers on the motion to quash, Doe averred that he obtained all

portions of the WT Videos that he reproduced in the Doe Video from a third-party video (the

“Cedars Video”) posted on YouTube on April 4, 2018 by “John Cedars” aka Lloyd Evans

(“Cedars”). Id. at Dkt. #18, Declaration of Malcolm Seymour ¶ 13. WT was unaware of the

Cedars Video until Doe served his moving papers on the motion on September 28, 2020.

       30.      Regardless, Doe’s claim that he copied the Doe Videos from the Cedars Video is

demonstrably false. Certain portions of the WT Videos that were replicated in the Doe Video



                                                6
31653/003/3836486
          Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 8 of 10




(time stamps 1:58-2:10 and 5:39-5:49 in the Doe Video) do not appear in the Cedars Video. Doe

later attempted to “clarify” his misrepresentation in his reply papers on the motion to quash, but

admitted he obtained purloined copies of the WT Videos from someone affiliated with Cedars

months before WT intended to broadcast the WT Videos and well before all of the videos were

completed. See Doe Reply Declaration, Dkt. #22 ¶ 5.

        31.     WT brings this copyright complaint to timely interpose its infringement allegations

against Doe.

        32.     Defendant’s acts described herein were committed without the permission, license,

or consent of WT, or any approved licensee.

        33.     Upon information and belief, Defendant’s acts described herein were committed

with knowledge or in reckless disregard of WT’s exclusive rights in the WT Videos, as indicated

by Doe’s comments that he received the WT Videos “early” on account of a “leak[]” from a “good

friend deep inside Bethel” that would allow him to “get to enjoy July’s broadcast” “before the rank

and file get to see it.”

        34.     Upon information and belief, by virtue of his unlawful conduct described above,

Defendant has made or will make substantial profits and gains to which he is not in law or equity

entitled, including without limitation in the form of Google ad revenue, as well as “donations” and

revenue streams from advertised merchandise.

        35.     Upon information and belief, as a result of Defendant’s unlawful actions described

above, Plaintiff has been and/or will be damaged and has suffered, and will continue to suffer,

irreparable injury for which Plaintiff has no adequate remedy at law. Because Doe, without

authorization, placed a significant portion of the then-unpublished WT Videos on the Internet,

WT’s original content was immediately available to anyone with the requisite connection to access



                                                 7
31653/003/3836486
             Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 9 of 10




and download. In this manner, Doe deprived WT of its ability to control dissemination of its

copyrighted works.


                                     CLAIM FOR RELIEF
                                    (Copyright Infringement)

        36.      WT repeats and realleges the assertions contained in paragraphs 1 through 35 above

as if fully set forth herein.

        37.      WT is the author of, and sole owner of all right, title and interest in and to the

copyrights in the WT Videos. Under 17 U.S.C. § 106, WT has the exclusive right, inter alia, copy

and to publicly perform the WT Videos.

        38.      Defendant’s unauthorized copying and public performance of the WT Videos

infringes WT’s exclusive rights under Section 106 of the Copyright Act, 17 U.S.C. § 106, in

violation of Section 501 of the Copyright Act, 17 U.S.C. § 501.


        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor and against Defendant as follows:

        A.       For a preliminary and permanent injunction enjoining Defendant and his agents,

servants, employees, officers, directors, attorneys, successors, assigns, licensees and all others in

active concert or participation with any of them from any further reproduction, copying,

performance or exploitation of the WT Videos, including in the Doe Video.

        B.       Award to WT, pursuant to 17 U.S.C. § 504(c), its actual damages incurred as a

result of Defendant’s acts of copyright infringement, and all profits Defendant realized as a result

of such unlawful acts, in amounts to be determined at trial; or, in the alternative, award to WT, at

its election, statutory damages pursuant to 17 U.S.C. § 504(c); each with pre-judgment and post-

judgment interest thereon.


                                                 8
31653/003/3836486
         Case 7:21-cv-04155-CS Document 12 Filed 06/01/21 Page 10 of 10




       C.       Award to WT, pursuant to 17 U.S.C. § 505, its costs and attorneys’ fees incurred

as a result of Defendant’s unlawful acts.

       D.       Award to WT such other and further relief as the Court may deem just and proper.


Dated: New York, New York                    Respectfully submitted,
       May 10, 2021
                                             COWAN, LIEBOWITZ & LATMAN, P.C.



                                             By:

                                             Eric J. Shimanoff (ejs@cll.com)
                                             Kieran G. Doyle (kgd@cll.com)
                                             Joelle A. Milov (jam@cll.com)
                                             114 West 47th Street
                                             New York, NY 10036
                                             (212) 790-9200

                                             Paul D. Polidoro (ppolidor@jw.org)
                                             Watch Tower Bible and Tract Society of
                                             Pennsylvania
                                             100 Watchtower Drive
                                             Patterson, NY 12563
                                             (845) 306-1000

                                             Attorneys for Plaintiff Watch Tower Bible and Tract
                                             Society of Pennsylvania




                                                9
31653/003/3836486
